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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

Rodney Lane McGee,                                   )
                      Plaintiff,                     )
                                                     )              Case No. 22 CV 50240
        v.                                           )
                                                     )              Hon. Iain D. Johnston
                                                     )
D. Sugars, et al.,                                   )
                                                     )
                      Defendants.                    )


                     ORDER ADOPTING REPORT AND RECOMMENDATION

        Before the Court is Magistrate Judge Schneider’s Report and Recommendation that this case be
dismissed under Fed. R. Civ. P. 41(b) for want of prosecution. Dkt. 90. According to the docket,
plaintiff Rodney McGee failed to participate in two telephonic status hearings. After he failed to
participate in one held 2/13/2025, Judge Schneider reset the hearing to 3/13/2025 and warned him that
any further failure to participate may result in a recommendation that the case be dismissed for want of
prosecution. Despite the warning, Mr. McGee again failed to participate in the 3/13/2025 hearing.
Judge Schneider mailed notice of both hearings to the address Mr. McGee has on file with the clerk’s
office and neither notice was returned as undeliverable. At both status hearings, defense counsel
reported to Judge Schneider that counsel has had no contact with Mr. McGee since December 2024. In
her Report and Recommendation Judge Schneider gave Mr. McGee until 3/28/2025 to file any objection,
but to date he has filed nothing. In light of Mr. McGee’s failures to appear, and in the absence of any
objection, the Court accepts Judge Schneider’s Report and Recommendation [90] and dismisses this
case for want of prosecution under Fed. R. Civ. P. 41(b). Civil case terminated.




Date: April 8, 2025                                  __________________________________
                                                     Iain D. Johnston
                                                     United States District Judge
